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 1   William B. Sullivan [CSB 171637]
     Kevin D. Sullivan [CSB 270343]
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 8                               UNITED STATES DISTRICT COURT
 9                             SOUTHERN DISTRICT OF CALIFORNIA
10                                               |   CASE NO. 11-mc-00676
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11                                               |   DECLARATION OF NON-OPPOSITION
                                                 |   OF WILLIAM B. SULLIVAN RE:
12   In the Matter of Attorneys Suspended or     |   ORDER TO SHOW CAUSE
     Disbarred by the State Bar of California,   |
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     _______________________________________________________________________________
             Declaration of Non-Opposition of William B. Sullivan re: Order to Show Cause
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 1           Pursuant to this Court’s order to show cause (Doc. # 1) why certain attorneys should not be
 2   suspended or disbarred from practicing in this Court, I, William B. Sullivan, hereby set forth the
 3   following declaration of non-opposition:
 4           1.      I am an attorney currently experiencing a sixty-day suspension pursuant to Order of the
 5                   California Bar. My suspension began on April 23, 2011 and will run through June 21,
 6                   2011. Thereafter, I will again be eligible to practice law in the state of California. I
 7                   make this declaration pursuant to the Court’s Order to Show Cause (Doc. # 1). I do not
 8                   oppose the imposition of suspension through June 21, 2011. It is my understanding
 9                   that the suspension in the Southern District of California would terminate on the same
10                   date as the suspension in the state of California.
11           2.      I have personal knowledge of the facts set forth in this declaration, and if called to
12                   testify as a witness, I could and would do so.
13           3.      In or about November of 2010, upon the advice of my attorney, I entered into a
14                   stipulation whereby I would experience a suspension from the practice of law in the
15                   state of California for a period of sixty (60) days.
16           4.      Since before April 23, 2011, I have imposed upon myself a zero-work schedule until
17                   at least June 22, 2011, the date I am eligible to again practice in California.
18           5.      Again, it is my understanding that the suspension in the Southern District of California
19                   would terminate on the same date as the suspension in the state of California.
20           6.      Additionally, I have no intention to practice until at least one week after this June 22,
21                   2011 date.
22           7.      Further, I have spent the majority of my suspension out of the country, and I am not
23                   expected to return until June 16, 2011, the date of this declaration.
24
25           I declare under penalty of perjury under the laws of the State of California that the foregoing
26   is true and correct.
27           Executed this 16th day of June, 2011.
28                                                                          s/ William B. Sullivan
                                                                            William B. Sullivan
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             Declaration of Non-Opposition of William B. Sullivan re: Order to Show Cause
